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                              UNITED STATES DISTRICT COURT
                                 NORTHERN DISTRICT OF ILLINOIS
                                  219 SOUTH DEARBORN STREET
                                     CHICAGO, ILLINOIS 60604

THOMAS G. BRUTON
CLERK                                                                               312-435-5670




                                Personal Identifiers in Paper Filings


Case No.: 91 cr 367-1
Document No: 133
Title: USA vs. Joseph Burgos

Date filed: October 25, 2017

The above listed document is not in compliance with the Federal Rules of Civil
Procedure 5.2. Federal Rules of Civil Procedure 5.2 addresses privacy and security
concerns over public access to electronic court files.

          Under this rule, document(s) filed with the court may NOT contain:
              Social Security number(s) or tax payer identification number(s);
              financial account number(s);
              date(s) of birth;
              names of a person(s) known to be a minor; and
              home street address(es) for criminal cases pursuant to Federal Rule of
                 Criminal Procedure 49.1(a).

          Document(s) filed with the court may include:
              the last four digits of Social Security number(s) or tax payer identification
               number(s);
              the last four digits of financial account number(s);
              the year(s) of birth;
              initials of a person(s) known to be a minor; and
              residence city and state.

All non-compliant documents are to be sealed by the Clerk and the filing party must file
the redacted document within 14 days.




Rev. 06/6/2016
